
964 A.2d 209 (2009)
407 Md. 230
ATTORNEY GRIEVANCE COMMISSION of Maryland, Petitioner,
v.
Nathan Harold WASSER, Respondent.
Misc. Docket AG No. 56, Sept. Term, 2008.
Court of Appeals of Maryland.
February 3, 2009.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein, pursuant to Maryland Rule 16-772, it is this 3rd day of February, 2009,
ORDERED, by the Court of Appeals of Maryland, that Nathan H. Wasser, be, and is hereby, disbarred by consent from the practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Nathan H. Wasser from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
